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IN THE UNITED s'I'A'I'Es DISTRICT coURT H!‘ED F S/ Wl-

FOR THE WESTERN DISTRICT OF TENNESSEE

wEsTERN DIVISION GSF""M '3 P?‘? l+= 23

 

MICHAEL LUSTER,
Plaintiff,
No. 03-2244 Ma/An

MEMPHIS LANDINGS APARTMENTS,
et al.,

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Defendants.

 

ORDER DENYING DEFENDANTS' MOTION FOR SUMMARY JUDGMENT AND DENYING
PLAINTIFF'S MOTION TO STRIKE EXPERT TESTIMONY AS MOOT

 

This case arises from the injury Michael Luster (“Luster”)
sustained after diving into the swimming pool at The Landings
Apartments complex in Memphis, Tennessee. Luster brings claims of
negligence and negligence per se. Before the court is defendants ML
Tennessee Apartments, LP, and Equity Residential Properties
Management Corporation’s (collectively'the “Defendants”) motion for
summary judgment, filed on December 17, 2004. Plaintiff Michael
Luster (“Luster") responded on January 14, 2005, and the Defendants
filed a reply brief on January 26, 2005. Also before the court is
Luster’s “Motion to Strike Expert Testimony Offered in Support of
Defendants’ Motion for Summary Judgment,” filed on January 14,
2005. Tbe Defendants filed a response on January 26, 2005. For the
following reasons, the court DENIES Defendants' motion for summary

judgment, and DENIES Plaintiff’s motion to strike as moot.

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I. Jurisdiction

Luster is a resident of Tennessee. (Ann Compl. at j 1.)
Defendant ML Tennessee Apartments, LP, is a foreign limited
partnership. (Id. at j 4.) There is no evidence that any partner of
ML Tennessee Apartments, LP, is a citizen of Tennessee. Equity
Residential Properties Management Corporation is a foreign
corporation. with. its principal place of business in Chicago,
Illinois. (Id. at j 6.)l Luster seeks over $30 million in damages.
(Id., Relief at j 3.) This court, therefore, has jurisdiction under
28 U.S.C. § 1332. The case arises from an injury Luster suffered at
the Landings Apartments complex in Memphis, Tennessee. (Id. at jj
16, 19, 24.) Because the accident occurred in the Western District
of Tennessee, venue is proper under 28 U.S.C. § l39l(a)(2).
II. Background

The following facts are undisputed except where otherwise
noted. On April 28, 2002, Luster and Monkell Bowen were at Monkell
Bowen's residence playing video games and drinking beer. (Luster
Dep. at 93.) Luster claims he drank two 16 oz bottles of beer. (Id.
at 95.) Around 4:30 p.m., Luster~ and Monkell Bowen drove to
Courtney Bowen’s apartment in the Landings Apartments complex (Id.
at 96.) The Landings Apartments were owned by ML Tennessee

Apartments, LP, and managed by Equity Residential Property

 

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The Amended Complaint names 10 defendants. All defendants except Equity
Residential Properties Management Corporation and ML Tennessee Apartments, LP,
were dismissed in an order entered on September 10, 2003.

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Management Corporation. (Ans. at j 4, 6.)

Luster, Monkell Bowen, Courtney Bowen, and another person
named Deshon cooked out and watched television. (Luster Dep. at
98.) Luster did not consume any additional alcohol. (Id.) The group
decided to swim in the Landings Apartments complex’s swimming pool.
(Id. at 101.) The swimming pool is less than 4 feet deep and is
surrounded by a gate which was unlocked that night. {Id. at 106;
Ebro Dep. at 69.) Once at the swimming pool, Luster entered the
water and swam several laps across the pool’s north end. (Luster
Dep. at 113.) Luster left the water and observed Courtney Bowen
dive into the swimming pool’s south end. (Id. at 114-16.) Several
seconds later, Luster copied Courtney Bowen and dove into the
pool's south end. (Id. at 116.) Luster's dive caused his head to
strike the bottom of the pool. (Id.) Paramedics were called after
the accident. {Monkell Bowen, Dep. at 51.) Luster's spine was
injured in the accident and he is now a paraplegic. (Compl. at jj
22-24.}

The parties dispute whether there was daylight when Luster's
accident occurred. On April 28, 2002, sunset was at 7:44 p.m. and
civil twilight ended at 8:11 p.m. (Mem. in Supp. of Def.'s Mot.,
Ex. 2.) In his deposition, Luster stated that he and his friends
decided to go swimming around 7:15 p.m. and arrived at the swimming
pool shortly thereafter. (Luster Dep. at 105.) The accident

occurred within ten minutes of their arrival at the swimming pool.

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(Monkell Bowen Dep. at 45-46.) The Defendants contend that this
evidence shows that the accident occurred around 7:30 p.m., while
there was daylight.

Luster claims that it was dark outside when he and his friends
went swimming. (Luster Dep. at 119; Monkell Bowen Dep. at 39;
Courtney Bowen Dep. at 35.) The paramedics' incident report states
that the paramedics arrived “On Scene” at 9:23 p.m. (Pl.'s Resp.,
Ex. 1.) Monkell and Courtney Bowen both estimated that the
paramedics arrived 15 to 20 minutes after the accident occurred.
(Monkell Bowen Dep. at 51; Courtney Bowen Dep. at 52.) Luster
contends that this evidence shows that the accident occurred around
9:00 p.m., well after sundown and the end of civil twilight.

The swimming pool has a “no diving” sign and a pool
regulations sign. (Terry Dep. at 73.) Luster did not read either
sign. (Luster Dep. at 107, 118.) There are depth markings on the
swimming pool deck and the vertical walls of the pool indicating
the depth of the water along the swimming pool’s perimeter. (Terry
Dep. at 51.) Luster did not see the depth markings. (Luster Dep. at
118.) Courtney Bowen, who had not been drinking and was the first
to dive in the swimming pool, also did not see the depth markers or
warning signs. (Courtney Bowen Dep. at 32, 44-45.)

Luster contends that the signs and the depth markings were not
visible because it was dark outside and the pool deck was

improperly lit. (Ebro Dep. at 63-64, 90, 107, lll, 114.} At

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nighttime, the artificial lighting around the swimming pool
illuminates the pool deck with 0.1 foot candles of light. (Id. at
128.) The Rules and Regulations of the State of Tennessee's
“Minimun\ Design Standards For Public Swimming Pools” requires
public pools used at night to be illuminated by a minimum of 5 feet
candles of light at the deck level. Tenn. Comp. R. & Regs. R. 1200-
23-5-.03(3)(t}.

The underwater pool lights in the swimming pool were not
operating when the accident occurred. (Perkins Dep. at 15; Terry
Dep. at 25.) The property manager and maintenance people at the
Landings Apartments complex had known that the underwater lights
had been off or not functioning for one week to two months before
Luster's accident.2 (Perkins Dep. at 16-17; Terry Dep. at 29; Hoehn
Dep. at 14.) Luster contends that, because the pool lights were
off, he could not see the pool’s bottom. {Ebro Dep. at 90.) The
Defendants contend that, at the time of Luster's accident, the
lighting on the pool deck was adequate to allow Luster to see the
pool’s bottom. (Jones Dep. at 65.) The Rules and Regulations of the
State of Tennessee‘s “Minimum Design Standards For Public Swimming
Pools” requires public pools used at night to be illuminated by
underwater lights that make all areas of the pool “clearly visible

to an observer on the pool deck.” Tenn. Comp. R. & Regs. R. 1200-

 

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The witnesses' testimonies differ as to why the lights were not
functioning during this time. All witnesses, however, agree that the lights had
not been illuminated for some time.

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23-5'.03(3)(1;).

According to Thomas Ebror an expert witness for Luster, when
a swimming pool is inadequately lit at night the chance that a
serious accident will occur increases. (Ebro Dep. at 92-93.) Had
the pool been better illuminated, the bottom, the depth.markers and
the warning signs would all have been visible. (Ebro Dep. at 125.)
In Ebro's opinion, the absence of adequate lighting made the
swimming pool unsafe and in violation of Tennessee's rules and
regulations for public swimming pools; under these conditions,
standard safety practices in the swimming pool industry would have
been to close the swimming pool at night and lock the gate. (Ebro
Dep. at 108-09, 134.}

A blood analysis performed on April 28, 2002, at lO:ll p.m.
showed that Luster's blood alcohol content (“BAC”) was 0.20 gms/dl.
(Stafford Aff. at j 5a, b.) According to the Defendants’ expert Dr.
David Stafford, “[a]n individual who is conscious with a BAC of
0.20 gms/dl would exhibit some or all of the following symptoms:
prolonged reaction time; impaired judgment in that the ability to
make good and timely decisions is decreased, and the ability to
judge things such as time, speed, and orientation is diminished;
impaired visual acuity; impaired auditory function; impaired fine
and gross motor skills and adversely effected equilibrium, balance

and gate.” (Id. at j 5d.)

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III. Choice of Law

A federal district court is required to apply the “choice of
law” rules of the state in which it sits. Klaxon Co. v. Stentor
Elec. Mfg. Co., 313 U.S. 487, 496 (1941); Cole v. Mileti, 133 F.3d
433, 437 {6th Cir. 1998). “Otherwise the accident of diversity of
citizenship would constantly disturb equal administration of
justice in coordinate state and federal courts sitting side by
side.” Klaxon, 313 U.S. at 496. Therefore, this court must apply
the Tennessee rule to determine which jurisdiction’s law to apply.

For tort claims, Tennessee follows the “most significant
relationship” rule, which provides that “the law of the state where
the injury occurred will be applied unless some other state has a
more significant relationship to the litigation.” Hataway v.
McKinley, 830 S.W.2d 53, 59 (Tenn. 1992). The injury occurred in
Tennessee, and both parties assume that Tennessee law applies. No
party alleges that another state has a more significant
relationship to the litigation. The court will, therefore, apply
Tennessee law.
IV. Summary Judgment Standard

Summary judgment pursuant to Rule 56 of the Federal Rules of
Civil Procedure is appropriate “if the pleadings, depositions,
answers to interrogatories, and admissions on file, together with
the affidavits, if any, show that there is no genuine issue as to
any material fact and that the moving party is entitled to judgment
as a matter of law.” Fed. R. Civ. P. 56(c). The party moving for

summary judgment “bears the burden of clearly and convincingly

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establishing the nonexistence of any genuine issue of neterial
fact, and the evidence as well as all inferences drawn therefrom
must be read in a light most favorable to the party opposing the
motion.” Kochins v. Linden-Alimakl Inc., 799 F.2d 1128, 1133 {Eth
Cir. 1986). The moving party can meet this burden, however, by
pointing out to the court that the respondents, having had
sufficient opportunity for discovery, have no evidence to support
an essential element of their case. See Street v. J.C. Bradford &
_C_IQ_., 886 F.2d 1472, 1479 (Gth Cir. 1989).

When confronted with a properly supported motion for summary
judgment, the nonmoving party must set forth specific facts showing
that there is a genuine issue for trial. A genuine issue for trial
exists if the evidence is such that a reasonable jury could return
a verdict for the nonmoving party. See Anderson v. Liberty Lobbv,
;pg;, 477 U.S. 242, 248 (1986). The party opposing the motion must
“do more than simply show that there is some metaphysical doubt as
to the material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio
Co_rg._, 475 U.S. 574, 586 (1986).

The nonmoving party' may' not oppose a properly' supported
summary judgment motion by mere reliance on the pleadings. §e§
Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). Instead, the
nonmoving party must present “concrete evidence supporting its
claims.” Cloverdale Equip. v. Simon Aerials, Inc., 869 F.2d 934,
937 (6th Cir. 1989). The district court does not have the duty to
search the record for such evidence. See Interroval Corp. v.

Sponseller, 889 F.2d 108, 110-11 (6th Cir. 1989); Street, 886 F.2d

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at 1479-80. Parties have the duty to point out specific evidence in
the record that would be sufficient to justify a jury decision in
their favor. ld;
V. Analysis

The Defendants argue for summary judgment in their favor
because Luster’s own negligence was 50% or more at fault in causing
his injuries.3 (Mem. in Supp. of Def.'s Mot. at 11-12.) In
Tennessee, a plaintiff may recover in a negligence action “so long

as a plaintiff’s negligence [is] less than the defendant's

 

negligence. . . .” McIntVre v, Balentine, 833 S.W.2d 52, 57 (Tenn.
1992). “[T]he fault apportionment question is ultimately dependent
upon all the circumstances of the case; and juries will . . . rely

upon their common sense and ordinary experience in apportioning
fault.” Eaton v. McLain, 891 S.W.2d 587, 593 (Tenn. 1994).

In a negligence action where a comparative fault defense is
raised, “[i]f the evidence is evaluated in the light most favorable
to the plaintiff and reasonable minds could not differ that [his]
fault was equal to or great than that of the defendants, summary
judgment in the defendant's favor may be granted.” Staples v. CBL

& Associates, Inc., 15 S.W.3d 83, 91-92 (Tenn. 2000). But,

 

“[g]enerally, summary judgments are not appropriate in negligence
actions." Brookins v. The Round Table, Inc., 624 S.W.2d 547, 550
(Tenn. 1981). “In negligence cases, issues of proximate cause,

intervening cause and contributory negligence are peculiarly issues

 

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The Defendants' motion for summary judgment only addresses Luster's claim
for negligence. It does not address Luster's claim for negligence per se.

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for the trier of fact, not the court to determine. Such issues can
only' be decided by the court in cases where inferences from
uncontroverted facts are so certain that all reasonable men, in the
exercise of a free and impartial judgment, must agree upon them.”
Id.; see al§g §§Lgn, 891 S.W.2d at 590; Doe v. Linder Const. Co.,
lng;, 845 S.W.Zd 173, 187 (Tenn. 1992); Haga v. Blanc & West Lumber
Co.l Inc., 666 S.W.2d 61, 65 (Tenn. 1984); Frady v. Smith, 519
S.W.Zd 584, 586 (Tenn. 1974). When in doubt, the court should draw
no inference fronl the facts about a plaintiff’s contributory
negligence. See Schindler v. Southern Coach Lines, 217 S.W.2d 775,
78 (Tenn. 1949).

Luster’s BAC was 0.20 gms/dl. According to Dr. Stafford, the
Defendants’ expert witness, this level of alcohol in Luster's body
would have impaired his coordination, ability to make decisions,
and ability to judge his surroundings. (Stafford Aff. at j 5d.)
Luster has not presented evidence contradicting the statements in
Dr. Stafford’s affidavit. If the BAC test performed on Luster is
believed, a jury could. conclude that Luster was negligent in
swimming and diving while his mental and physical abilities were
impaired by alcohol.

Luster presents evidence that the swimming pool’s underwater
lighting and deck. lighting 'violated. Tennessee regulations for
public swimming pools used at night. According to Luster's expert
witness Thomas Ebro, under these circumstances it would have be

standard practice for the swimming pool operator to close the

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facility at night and lock the pool’s gate.4 (Ebro Dep. at 134.) lf
Ebro’s testimony' is believed, a juryA could. conclude that the
Defendants were negligent in leaving the swimming pool open at
night.

Luster and the Defendants have presented evidence from which
a jury could conclude that the other side's negligence contributed
to Luster’s injury. The court cannot say “that all reasonable men,
in the exercise of a free and impartial judgment” would agree that
Luster's negligence in diving into a pool after consuming alcohol
was greater than the negligence of the Defendants in leaving an
improperly lighted pool open at night. The apportionment of fault
is “peculiarly” a question for the jury and unless the inferences
drawn from the facts in a negligence action are certain, the court
may not grant summary judgment. Brookins, 624 S.W.Zd at 550. The
court cannot conclude that, as a matter of law, Luster’s fault was
equal to or greater than the fault of the Defendants and the
Defendants motion for summary judgment is denied.
VI. Motion to Strike

Luster asks the court to strike the expert testimony of Dr.
David Stafford because the toxicological report Stafford relied on
in his affidavit was never entered into evidence or authenticated.
(Pl.’s Mot. to Strike at jj 3-4.} The Defendants responded to
Luster’s motion to strike by filing a new affidavit in which Dr.

Stafford authenticates the toxicology report and states that the

 

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Because the parties dispute whether daylight was present when Luster's
accident occurred, the court must assumer for the purposes Of this motion for
summary judgmentr that it was dark outside when Luster's accident occurred.

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toxicology report is a document “of the type that is reasonably
relied upon by experts in my field, toxicology, in formulating
opinions or inferences upon the subject of toxicology.” (Stafford
Supp. Aff. at j 3.) The court has ruled in Luster's favor on the
Defendants' motion for summary judgment even after taking into
account the statements in Dr. Stafford's affidavit. Consequently,
there is no need for the court to rule on Luster's motion to
strike, and it is denied as moot.
VII. Conclusion

For the foregoing reasons, Defendants' motion for summary

judgment is DENIED. Plaintiff's motion to strike is DENIED as moot.

SO ORDERED this ‘lrt'day Of May 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED`TATES ISTRIC COUT - WESRTEN DIITSTRC oF'TNi\I'ESSEE

   

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This notice confirms a copy of the document docketed as number 58 in
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Honorable Samuel Mays
US DISTRICT COURT

